Case 2:04-CV-02283-SHI\/|-tmp Document 49 Filed 05/20/05 Page 1 of 2 Page|D 36

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

JANE DOE #1,and through her

next friend (mother), JANE DOE

#2; and JANE DOE #2,
Plaintiffs,

vs. Civ. No. 04-2283-Ma[P

MEMPHIS CITY SCHOOLS, et al.,

Defendants.

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ORDER DENYING AS MOOT PLAINTIFFS' MOTION TO COMPEL
PRODUCTION OF DOCUMENTS

 

Before the court is Plaintiffs' Motion to Compel
Production of Documents, filed May 5, 2005 (Dkt #37). On May 19,
2005, the court held a telephonic hearing on the motion and counsel
for all parties were heard. Parties stated in court that the

documents have been produced, therefore, the motion is DENIED as

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TU M. PHAM
United States Magistrate Judge

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Date

MOOT.

IT IS SO ORDERED.

 

This document entered On the docket sheet §n compliance
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ESSEE

 

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Honcrable Samuel Mays
US DISTRICT COURT

